Case 3:22-cv-03131-JCS Document 84-7 Filed 11/17/23 Page 1 of 14




    EXHIBIT 32
Case 3:22-cv-03131-JCS Document 84-7 Filed 11/17/23 Page 2 of 14
Case 3:22-cv-03131-JCS Document 84-7 Filed 11/17/23 Page 3 of 14
Case 3:22-cv-03131-JCS Document 84-7 Filed 11/17/23 Page 4 of 14
Case 3:22-cv-03131-JCS Document 84-7 Filed 11/17/23 Page 5 of 14
Case 3:22-cv-03131-JCS Document 84-7 Filed 11/17/23 Page 6 of 14
Case 3:22-cv-03131-JCS Document 84-7 Filed 11/17/23 Page 7 of 14
Case 3:22-cv-03131-JCS Document 84-7 Filed 11/17/23 Page 8 of 14
Case 3:22-cv-03131-JCS Document 84-7 Filed 11/17/23 Page 9 of 14
Case 3:22-cv-03131-JCS Document 84-7 Filed 11/17/23 Page 10 of 14
Case 3:22-cv-03131-JCS Document 84-7 Filed 11/17/23 Page 11 of 14
Case 3:22-cv-03131-JCS Document 84-7 Filed 11/17/23 Page 12 of 14
Case 3:22-cv-03131-JCS Document 84-7 Filed 11/17/23 Page 13 of 14
Case 3:22-cv-03131-JCS Document 84-7 Filed 11/17/23 Page 14 of 14
